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                   UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                Case No. 09-cr-88-01/05-SM

Juan Garcia Hernandez, et al



                                     ORDER

      Defendants motions to continue the trial for thirty days (document nos. 69 and

73) are granted. As discussed at the pretrial conference on October 14, 2009, the

government noted that it would be seeking a superceding indictment promptly, and

a trial date was set on the superceding indictment.

      Trial has been rescheduled for the December trial period. Defendants shall

file a Waiver of Speedy Trial Rights not later than October 22, 2009.

      The court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendant the reasonable time necessary for effective
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preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference:       December 1, 2009 at 3:00 PM

      Jury Selection:                  December 8 , 2009 at 9:30 AM

      SO ORDERED.



October 15, 2009                        _________________________
                                       Steven J. McAuliffe
                                       Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




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